       Case 1-18-40819-nhl            Doc 21       Filed 04/09/18   Entered 04/09/18 17:37:25




KATTEN MUCHIN ROSENMAN LLP
575 Madison Avenue
New York, NY 10022-2585
Jeff J. Friedman
         and
525 West Monroe Street
Chicago, IL 60661
Kenneth J. Ottaviano
Paige B. Tinkham

Counsel for Capital Funding, LLC

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
In re:

22 Maple Street, LLC,                                                   Case No. 18-40816

                           Debtor.                                      Chapter 11
--------------------------------------------------------------x
In re:

25 Oriol Drive, LLC,                                                    Case No. 18-40817

                           Debtor.                                      Chapter 11
--------------------------------------------------------------x
In re:

59 Coolidge Road, LLC,                                                  Case No. 18-40818

                           Debtor.                                      Chapter 11
--------------------------------------------------------------x
In re:

20 Kinmonth Road, LLC,                                                  Case No. 18-40819

                           Debtor.                                      Chapter 11
--------------------------------------------------------------x

               AMENDED NOTICE OF MOTION OF CAPITAL FUNDING, LLC
                FOR RELIEF FROM THE AUTOMATIC STAY FOR CAUSE

        PLEASE TAKE NOTICE that the undersigned attorneys for Capital Funding, LLC shall

appear on April 26, 2018, commencing at 3:30 p.m., or as soon thereafter as counsel may be



US_132745426
        Case 1-18-40819-nhl      Doc 21     Filed 04/09/18     Entered 04/09/18 17:37:25




heard, before the Honorable Nancy H. Lord, United States Bankruptcy Judge, at the United States

Bankruptcy Court for the Eastern District of New York, Conrad B. Duberstein Courthouse, 271

Cadman Plaza East, Courtroom 3577, Brooklyn, NY 11201-1800, and shall seek entry of an order

granting relief from the automatic stay, as set forth in the attached Motion of Capital Funding,

LLC for Relief from the Automatic Stay and other attached documents (the “Motion”).

         PLEASE TAKE FURTHER NOTICE that any objections to the Motion or the relief

requested therein shall be in writing, conform to the Local Bankruptcy Rules for the Eastern

District of New York; shall specify with particularity the basis of the objections or opposition;

and shall be filed with the clerk of the United States Bankruptcy court, electronically by attorneys

who regularly practice before the Bankruptcy Court. Any objections shall be simultaneously

served on the undersigned counsel and parties in interest so as to be received by April 19,

2018.




Dated: April 9, 2018                          Respectfully submitted;

                                                      By:    /s/ Paige B. Tinkham
                                                      Kenneth J. Ottaviano, (pro hac vice)
                                                      Paige B. Tinkham (pro hac vice)
                                                      KATTEN MUCHIN ROSENMAN LLP
                                                      525 West Monroe Street
                                                      Chicago, Illinois 60661
                                                      Telephone: 312-902-5200
                                                      Facsimile: 312-902-1061
                                                      Kenneth.Ottaviano@kattenlaw.com
                                                      Paige.Tinkham@kattenlaw.com




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